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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
Printiss Jackson-Davis, individually
and as Personal Representative of the
Estate of Brenda Jackson CASE NO: 1:17-cv-24089-RNS
Plaintiff,

V.

CARNIVAL CORPORATION D/B/A
CARNIVAL CRUISE LINES

Defendant.
/

 

DEFENDANT CARNIVAL CORPORATION’S MOTION TO DISMISS PLAINTIFF’S
COMPLAINT AND MOTION TO STRIKE REQUESTS FOR PUNITIVE DAMAGES
WITH SUPPORTING MEMORANDUM ()F LAW

Defendant, CARNIVAL CORPORATION, by and through its undersigned counsel and
pursuant to Rules lZ(b)(6) and lZ(D of the Federal Rules of Civil Procedure, hereby files this
Motion to Dismiss Plaintift’ s Complaint and Motion to Strike Requests for Punitive Damages
With Suppoiting Memorandum of LaW and in support thereof Would state as follows:

l. This is a maritime passenger Wrongful death matter brought by Plaintiff Printiss
Jackson-Davis lndividually, and as Personal Representative of the Estate of Brenda Jackson
(“Plaintifi”). Plaintiff alleges that she and her mother, Brenda Jackson, Were passengers aboard
the Carnival Dream on November 13, 2016. [D.E. l, 11 9]

2. Plaintiff contends that on the morning of November 13th she and Ms. Jackson
presented to the ship’s medical center for treatment at approximately 2230 AM While the vessel

Was sailing towards its home port in NeW Orleans. [D.E. l, 110] Plaintiff further alleges that all

of the medical care took place While the ship Was Within three miles of the coast of Louisiana,

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and that during such time her condition was not properly treated and/or managed thus leading to
her death. [D.E. l, W 12, 32]

3. Plaintiff brings the following claims in the Complaint against Carnival: (l)
Negligence', (2) Vicarious Liability under Respondeat Superior for the negligence of non-
medical personnel; (3) Vicarious Liability under Respondeat Superior for the negligence of
medical personnel; (4) Vicarious Liability under Apparent Agency for the negligence of medical
personnel; and (5) Negligent Hiring and Retention. [D.E. l, pp. 7-24]

4. Plaintifi` s Complaint should be dismissed in its entirety under Rule lZ(b)(6) of
the Federal Rules of Civil Procedure for failing to state a claim upon which relief may be
granted

5. Alternatively, Plaintiff s demands for punitive damages are not properly pled and
are legally insufficient, and should thus be stricken [D.E. l, 111 34, 43, 52, 61, 68]

MEMORANDUM OF LAW
I. LEGAL STANDARD

In order for Plaintiffs to state a valid claim against Carnival, Federal Rule of Civil
Procedure S(a)(Z) requires “a short and plain statement of the claim showing that the pleader is
entitled to relief.” While a court, at this stage of the litigation, must consider the allegations
contained in the plaintiff’ s complaint as true, this rule “is inapplicable to legal conclusions.”
Ashcroft v. Igbal, 556 U.S. 662, 678 (2009). Conclusory allegations, unwarranted deductions of
facts, or legal conclusions masquerading as facts will not prevent dismissal. GXford Asset
Mgmt. v. Jaharis, 297 F.3d 1182, 1188 (llth Cir. 2002). Rather, the complaint’s allegations
must include “more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” ld.

(citz'ng Bell Atlantic Corp. v. Twombl , 550 U.S. 544, 555 (20()7). Thus, “threadbare recitals of

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the elements of a cause of action, supported by mere conclusory statements, do not suffice.” _l_d.
(citing Twombly, 550 U.S. at 5 55). Therefore, to survive a motion to dismiss, a “complaint must
contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
face.”’ E. (quoting Twombly, 550 U.S. at 570).

A claim has facial plausibility when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged. l_d_.
The plausibility standard requires more than a sheer possibility that a defendant has acted
unlawfully. l_d. Where a complaint pleads facts that are merely consistent with a defendant’s
liability, it stops short of the line between possibility and plausibility of entitlement to relief. E.
Determining whether a complaint states a plausible claim for relief is a context-specific
undertaking that requires the court to draw on its judicial experience and common sense. E. at
679.
II. THIS ACTION IS GOVERNED BY GENERAL MARITIME LAW

Incidents occurring on the navigable waters and/or bearing a significant relationship to
traditional maritime activities are governed by general maritime law. Kermarec v. Compagnie
Generale Transatlantique, 358 U.S. 625, 632 (1959)', Kornberg v. Carnival Cruise Lines. lnc.,
741 F. 2d 1332, 1334 (11th Cir. 1984); Hallman v. Carnival Cruise Lines` lnc. 459 So.2d 378,
379 (Fla. 3d DCA 1984). lt is well settled that the law governing passenger suits against cruise
lines is the general maritime law. Everett v. Carnival Cruise Lines, lnc., 912 F.2d 1355, 1358
(11th Cir. 1990); Keefe v. Bahama Cruise Line, Inc., 867 F.Zd 1318 (11th Cir. 1989). Plaintiff
alleges that the subject incident occurred while Ms. Jackson was a passenger aboard the Carnival

Dream. [D.E. 1 at 1111]. Accordingly, general maritime law applies.

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III. COUNT I FAILS TO STATE A VIABLE DIRECT LIABILITY CLAIM AGAINST
CARNIVAL

A. The allegations asserting direct liability are improper

As a threshold matter, Count l of the Complaint fails to state a claim upon which relief
may be granted because Plaintiff is improperly attempting to hold Carnival directly liable for the
negligence of its “crew on board the Carnival D)'eam and its officials and employees in Florida.”
[D.E. 1, il 23; pp. 6~10]. While the negligence of others may be imputed to hold a defendant
vicariously liable, the same is not true for purposes of direct liability. Count l must therefore be
dismissed in its entirety because it does not state a valid direct negligence cause of action against
Carnival arising from i_ts_c_)_ygr_ acts and/or omissions [D.E. 1, pp. 6-10]

B. Plaintiffs’ Amended Complaint Erroneously Asserts Duties that Don’t Exist
Under Maritime Law

Additionally, Plaintiff also erroneously asserts the wrong standard of care for negligence
in maritime passenger injury actions against Carnival in Count 1 of the Complaint. Specifically,
Plaintiff alleges Carnival breached its duty to (a) timely divert the ship or evacuate Plaintiff by
helicopter or speed boat to receive competent medical care; (b) relied upon medical opinions
and/or advice of ship doctors and nurses who were not properly qualified and failed to have
proper licenses in the jurisdiction of the flag of the ship; (c) properly consult qualified shore-
based personnel to make safe decisions about treatment and evacuation; (d) adequately train,
supervise and instruct crew members on how to respond to medical emergencies and take steps
to evacuate a passenger who they were unprepared and unqualified to treat; (e) develop and
institute adequate procedures and policies to address Plaintiff’s medical situation; (f) employ the

proper type of doctors and nurses', and (g) utilize “Face to Face Telemedicine.” [D.E. 1, 11 28]

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However, Plaintiff is attempting to hold Carnival to a higher standard of care than what is
actually required under the law. lt is well settled that the standard of care due to passengers by a
cruise ship operator is that standard which is reasonable under the circumstances Kermarec v.
Compagnie Generale Transatlantique, 358 U.S. 625, 79 S.Ct. 406, 410 (1959); Everett v.
Carnival Cruise Lines, lnc., 912 F.2d 1355, 1358 (11th Cir. 1990); Keefe v. Bahama Cruise Linel
IB:_., 867 F.2d 1318, 1322 (11th Cir. 1989). Thus, Plaintiffs allegations invoking a heightened
duty of care beyond what is actually required under maritime law is improper and the negligence
claim asserted in Count l fails to state a claim upon which relief can be granted For example:

1. A shipowner does not have a duty to provide medical care

Count l of Plaintiffs Complaint implies that Carnival had a duty to provide medical care
to Ms. Jackson. However, under general maritime law, a shipowner does not owe a duty to
practice medicine or to carry a physician on board. See Franza v. Roval Caribbean Cruises, Ltd.,
772 F.3d 1225, 1232 (11th Cir. 2014); see also Rinker v. Carnival Corjg, 2010 WL 9530327 at
*2 (S.D. Fla. June 18, 2010). Likewise, there is no obligation for Carnival to train, supervise or
instruct shipboard medical staff. See Mumford v. Carnival CorL, 7 F.Supp. 3d 1243, 1248 (S.D.
Fla. 2014); Farrell v. Roval Caribbean, 2013 U.S. Dist. LEXIS at *7 (S.D. Fla. January 2, 2013);

Hill v. Celebritv Cruises, lnc., 2010 WL 11442595 at *5 (S.D. Fla. 2010); Rinker v. Carnival

 

Q)LIL, 2010 U.S. Dist. LEXIS 144910 at *7 (S.D. Fla. 2010)(dismissing with prejudice
allegation that Carnival failed to adequately train, instruct or supervise medical staff, as no such
duty exists). Therefore, as Carnival has no duty, as a matter of law, to provide medical care to its
passengers or to train, instruct or supervise medical staff, Carnival respectfully requests

paragraphs 28 (b) thru (g) be dismissed with prejudice

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2. Carnival has no duty to provide medical equipment or establish
policies/procedures

Plaintiff has also alleged that Carnival was negligent in failing to utilize modern
technology like “Face to Face Telemedicine” or in developing and instituting adequate policies
and procedures to address Plaintiff’s medical situation. However, Carnival is under no legal duty
to develop or institute particular medical directives and policies regarding patient care, and it is
thus not negligent if it fails to do so. Hajtman v. NCL, 466 F.Supp. 2d 1324, 1327 (S.D. Fla.
2007)(carrier not negligent for failure to promulgate or enforce particular medical directives
regarding patient care, as carrier has no duty to do so); Mumford v. Carnival Corp., 7 F.Supp. 3d
1243, 1248 (S.D. Fla. 2014); Farrell v. Roval Caribbean Cruises, Ltd., 2013 U.S. Dist. LEXIS
8136 at *6-7 (S.D. Fla. 2013). Similarly, as it relates to Plaintiff s allegation that Carnival did
not have modern technologies like “Face to Face Telemedicine” available, it is well settled that a
ship owner does not owe a duty to provide medical equipment Zapata v. Roval Caribbean

Cruises Ltd., 2013 U.S. Dist. LEXIS at *8~9 (S.D. Fla. 2013)(dismissing with prejudice

 

allegation that Royal Caribbean had a duty to provide first aid equipment on ship, as “a ship is
not a ‘floating hospital”’); see also Wainstat v. Oceania Cruises, 2011 U.S. Dist. LEXIS 10900 at
*9 (S.D. Fla. 2011)(dismissing with prejudice allegation that Oceania Cruises failed to provide
communication equipment for the ship’s medical staff to communicate with emergency doctors,
as “a cruise ship is not a floating hospital”).

3. Carnival has no duty to employ doctors Who are licensed in the jurisdiction
of the flag of the ship

Plaintiff also alleges that Carnival breached a duty to employ the “proper type of doctors
and nurses” in paragraph 28 (f) claiming that they were “not properly qualified and failed to have

proper licenses in the jurisdiction of the flag of the ship on which they were hired to provide

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medical care.” However, it is undisputed that Carnival has no duty to hire medical personnel
licensed in the jurisdiction of the flag of the ship. R_ir_i_k§r_', 753 F.Supp. 2d 1237 (S.D. Fla. 2010).
Moreover, to the extent Plaintiffs claims rest solely upon the premise that the medical personnel
were not competent because they did not render proper care, “that fact that a physician errs in
treatment does not prove he was incompetent, or that Carnival was negligent in appointing him.”
l\/Iumford, 7 F.Supp. 3d 1243 (S.D. Fla. 2014); see also Jackson v. Carnival Cruise Lines, lnc.,
203 F.Supp. 2d 1367, 1375 (S.D. Fla. 2002). Accordingly, subparagraphs (b) and (f) are
likewise improper and subject to dismissal with prej udice.

C. Evacuation allegations do not state a valid negligence claim

Count l of Plaintiff’ s Complaint also contains allegations in Paragraph 28(a) that contend
that Carnival was negligent in failing to “timely divert the ship or evacuate Plaintiff by helicopter
or speed boat to receive competent medical care.” [D.E. 1 il 28(a)] Plaintiff argues in support
that the “only sensible option” was to order an evacuation given the purported location of the
ship along with her symptoms at the time. [l_c_l_.]

First, it bears noting that Carnival was under no duty to provide medical transportation to
the Plaintiff. See Mumford, 7 F.Supp. 3d at 1248; see also Farrell v. Roval Caribbean Cruisesz
_l_,td_., 2013 U.S. Dist. LEXIS 8136 at *7 (S.D. Fla. Jan. 2, 2013)', Hill v Celebritv Cruises, lnc.,
2010 WL 11442595 at *5 (S.D. Fla. 2010)(“[Celebrity Cruises] has no duty to provide medical
transportation services or to divert the course of the ship for medical treatment”); Gliniecki v.
Carnival Corp., 632 F.Supp. 2d 1205, 1208 (S.D. Fla. 2009)(dismissing with prejudice claim for
failure to timely transport passenger to suitable medical facilities abroad, as “Carnival has no

duty to provide medical transportation or services”).

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However, even if a duty to evacuate or divert existed, Plaintiff’ s allegations do not assert
any factual information suggesting that Carnival was on notice of the need to divert the ship or
order an evacuation. The applicable standard of care requires, as a prerequisite to establishing
liability, that the carrier have actual or constructive notice of the risk-creating condition. See e.g.
Keefe v. Bahama Cruise Line, lnc., 867 F.2d 1318, 1322 (11th Cir. 1989); lsbell v. Carnival
Q)rp_., 462 F.Supp. 2d 1232, 1237 (S.D. Fla. 2006). Therefore, Plaintiff’ s conclusory allegations
fail to satisfy the pleading requirements set forth in _lgba_l and Twombly and should be
dismissed/ stricken for failure to state a claim upon which relief can be granted.

Notably, this District has dismissed similar “negligent evacuation” claims with prejudice.
See Wajnstat v. Oceania Cruises, 2010 WL 3900083 (S.D. Fla. July 19, 2010). Particularly in
Wajnstat, the court dismissed with prejudice the plaintiff s claim predicated on the cruise ship’s
alleged failure to timely evacuate the plaintiff after he became ill. ln dismissing the claim, the
court noted that plaintiff did not allege any facts indicating that the ship’s physician requested an
evacuation that was overruled by the ship’s master. See e.g. l\/letzger v. ltalian Line, 1976
A.MC. 453 (S.D.N.Y. 1975).

As in Wajnstat, there are no allegations in Plaintiff’ s Complaint that present a plausible
cause of action against Carnival for failing to exercise reasonable care in furnishing aid and
assistance to Plaintiff. Once Plaintiff placed herself under the care of the ship’s medical staff,
Carnival could not have made an independent decision to evacuate or divert the vessel.
Conspicuously absent from the Complaint are any allegations that the ship’s physician made a
medical decision that the Plaintiff needed to be evacuated or diverted Which Was ultimately
ignored or overruled by the ship’s master. ln fact, Plaintiff appears to be claiming just the

opposite by specifically alleging that the shi ’s h sician did not place the call for an air

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ambulance evacuation. [D.E. l il 18]. Accordingly, Plaintiff cannot present a plausible cause of
action against Carnival for failing to order an evacuation or divert the vessel. See also Rinker v.
Carnival, 2010 WL 9530327, at *3 (S.D. Fla. lune 18, 2010)(dismissing plaintiff` s negligence
claim based on an allegation that Carnival failed to timely divert the vessel or evacuate the
plaintiff because there were no factual allegations supporting such a claim).

D. Absence of Proximate Cause

To the extent the Court finds that Carnival may be held directly liable and/or that Count l
of the Complaint asserts a proper standard of care, Carnival would respectfully suggest that
Plaintiff has still failed to sufficiently allege proximate causation ln fact, Plaintiffs Complaint
is entirely devoid of any factual information as to how the alleged failure to do any of the acts
identified in subparagraphs (a-g) proximately caused Plaintiff’s death. lnstead, Plaintiff simply
states in a conclusory manner that had she “received the appropriate care and treatment or had
been timely evacuated from the ship, she would not have suffered such devastating injuries
resulting in death.” [D.E. 1 32] However, even taking the allegations in a light most favorable
to the Plaintiff, there are no facts to substantiate how diverting the ship or evacuating the
Plaintiff by helicopter would have prevented her death. Likewise, Plaintiff has failed to allege
what policies or procedures should have been implemented or how the implementation of such
policies and procedures would have changed her unfortunate outcome. Similarly, there are no
allegations explaining how a failure to perform a medical consult or use “Face to Face
Telemedicine” was the proximate cause of her injury/death.

Carnival is not an insurer of the passengers’ safety and the mere fact that an accident
occurs does not render a shipowner liable. Kornberg v. Carnival Cruise Lines, lnc., 741 F.2d

1332, 1334 (11th Cir. 1984)', Lubv v. Carnival Cruise Lines, lnc., 633 F.Supp. 40, 41 (S.D. Fla.

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1986). Considering the absence of allegations indicating how specifically Plaintiff Was injured
because of the failures set out in Paragraph 28(a-g), Count l should be dismissed for failing to
state a claim upon which relief may be granted. See e.g. Rinker v. Carnival, 753 F.Supp. 2d
1237, 1242 (S.D. Fla. 2010).

IV. COUNTS II, lII and IV SHOULD BE DISMISSED FOR FAILURE TO STATE
VIABLE VICARIOUS LIABILITY CLAIMS

A. Count II does not allege sufficient facts establishing an agency relationship

Count ll of the Complaint attempts to assert a vicarious liability claim against Carnival
for the alleged negligence of its “non-medical personnel.” lD.E. l, ilil 35-44, pp. 10-14]
However, Count ll does not allege sufficient facts to establish an agency relationship between
Carnival and the purported “non-medical personnel.” lnstead, Plaintiff simply recites the
elements of an actual agency relationship in Paragraph 44 of the Complaint. lD.E. 1 il 44] This
type of “naked assertion[s] devoid of further factual enhancement” are exactly what Rule 8 of the
Federal Rules of Civil Procedure aim to prevent. lql_)al, 556 U.S. at 678.

B. Counts II, III, and IV impose an improper standard of care

Meanwhile, Plaintiff has simply converted the improper standard of care against Carnival
found in Count l of the Complaint into respondeat superior theories of liability in Counts ll, lll
and lV. For example, the laundry list of allegedly breached duties set forth in paragraph 28 (a-g)
of Count l are identical to the alleged breaches in paragraph 37(a-g) of Count ll. Moreover,
subpargraphs 49 (d and f-j) in Count lll and subparagraphs 58 (d and f~j) in Count lV assert the
same improper duties. However, if Carnival cannot be held directly liable in Count l for the
breach of duties that it did not have, Plaintiff cannot circumvent the absence of those duties by
seeking to hold Carnival vicariously liable for the breach by third parties of duties which are not

owed under maritime law. These non-existent duties include, for example, the duty to establish

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medical policies/procedures, to provide communication devices and/or equipment, to hire
medical personnel licensed under the jurisdiction of the vessel, to divert the ship, or to evacuate a
passenger. Accordingly, Carnival hereby adopts and incorporates by reference the legal
arguments set forth above in support of the dismissal of Counts ll, lll, and lV of Plaintiff s
Complaint.

C. Counts II, III and IV fail to adequately allege proximate causation

To the extent the Court finds that Counts ll, lll and IV assert a proper standard of care,
Carnival would respectfully suggest that Plaintiff has still failed to sufficiently allege proximate
causation As outlined above, Plaintiff’s Complaint is entirely devoid of any factual information
as to how the alleged failure to do any of the acts identified in Paragraph 37(a-g) of Count ll,
Paragraph 49 (a-k) of Count lll, and Paragraph 58 (a-k) of Count lV proximately caused her
death.

V. PLAINTIFF’S CLAIM FOR NEGLIGENT HIRING and RETENTION (Count V
of the Complaint) SHOULD BE DISMISSED

Plaintiff has likewise failed to allege ultimate facts sufficient to support claims for
negligent hiring and retention Negligent hiring occurs when, prior to the time the employee or
independent contractor is actually hired, the employer knew or should have known of an
employee or independent contractor’s unfitness. See Tello v. Royal Caribbean Cruises, Ltd., 939
F.Supp. 2d 1269, 1276 (S.D. Fla. 2013); Garcia v. Duffy, 492 So.2d 435, 438 (Fla. 2d DCA
1986). The issue of liability focuses primarily upon the adequacy of the employer’s pre-
employment investigation into the employee or independent contractor’s background See _"l_`e_llt_),
939 F. Supp. 2d at 1276. To state a cause of action for the tort of negligent hiring or retention, a
plaintiff must allege that (1) the employee/contractor was incompetent or unfit to perform the

work', (2) the employer knew or reasonably should have known of the particular incompetence or

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unfitness; and (3) the incompetence or unfitness was a proximate cause of the plaintiff’s injury.
See Doe v. NCL (Bahamas) Ltd., 2016 U.S. Dist. LEXlS 150817 at *8 (S.D. Fla. Oct. 27, 2016);
Witover v. Celebritv Cruises, Ltd., 161 F.Supp. 3d 1139, 1148 (S.D. Fla. 2016); Smolnikar v.
Roval Caribbean Cruises, Ltd., 787 F.Supp. 2d 1308 (S.D. Fla. 2011). The principal difference
between negligent hiring and retention as a basis for employer liability is the time at which the
employer is charged with knowledge of the employee or independent contractor’s unfitness. See
I_ellg, 939 F.Supp. 2d at 1276;§_21_1'_<12;,492 So.2d at 438.

To satisfy the second element, a plaintiff must allege facts showing that the employer was
put on notice of the harmful propensities of the employee or independent contractor before hiring
such person. See l_)ge, 2016 U.S. Dist. LEXlS 150817 at *8-9; Flahertv v. Roval Caribbean
Cruises, Ltd., 172 F.Supp. 3d 1348, 1351~52 (S.D. Fla. 2016); I_e_llc_), 939 F.Supp. 2d at 1276;
Stires v. Carnival Co;p., 243 F.Supp. 2d 1313, 1318 (l\/l.D. Fla. 2002). Where a complaint only
contains conclusory or boilerplate allegations as to an employer’s knowledge of any particular
incompetence or unfitness, a claim for negligent hiring should be dismissed for failure to state a
claim. See e.g. _Qge_, 2016 U.S. Dist. LEXIS 150817 at *8-9 (dismissing claim for negligent
hiring or retention where “Plaintiff allege[d] no facts whatsoever to create a plausible inference
that Defendant either ‘knew or reasonably should have known of lany] particular incompetence
or unfitness’ or the incompetence that Defendant knew or should have known of caused
Plaintiff s injury”)(emphasis in original); Gittel v. Carnival Corp., 2015 U.S. Dist. LEXlS 75823
at *5-6 (S.D. Fla. 2015)(dismissing claim for negligent hiring and retention where “the complaint
containled] only conclusory allegations as to Carnival’s knowledge or any particular
incompetence or unfitness,” which allegations were “no more than a threadbare recital of the

‘knowledge’ element of this cause of action” with “no factual content sufficient to support it”);

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Summers v. Carnival Corp., 2015 U.S. Dist. LEXlS 180787 at *15 (S.D. Fla. April 6,
2015)(granting motion to dismiss “because Plaintiff has failed to allege facts that are suggestive
enough to render each element of his claim for negligent hiring, retention and training
plausible”); _"l_`e_ll_o, 939 F.Supp. 2d at 1276 (dismissing claim for negligent hiring or retention
where cruise passenger “allegeld] no facts indicating that Royal Caribbean’s crewmembers were
unfit for employment and that Royal Caribbean knew or should have known of their unfitness”);
Gavigan v. Celebritv Cruises lnc., 843 F.Supp. 2d 1254, 1261 (S.D. Fla. 2011)(noting that
plaintiff only asserted conclusory allegations in claim for negligent selection and ruling that
“lt]he absence of any facts to support a negligent selection claim requires dismissa ”).

Here, Count V does not allege that Carnival knew or should have known of any factually
specific incompetence or unfitness of the doctors, nurses or other medical personnel that cared
for or treated Plaintiff. Rather, Plaintiff’s Complaint contains only conclusory allegations
asserting that Carnival “became aware or should have become aware of problems with its
medical personnel indicating incompetence and unfitness, but failed to take appropriate action.”
[D.E. l il 65] These allegations are no more than a threadbare recital of the “knowledge”
element of a cause of action for negligent hiring/retention with no factual content sufficient to
support them. Accordingly, Plaintiff has failed to state a claim for negligent hiring/retention, and
Count V should be dismissed

VII. PLAINTIFF’S REQUESTS F()R PUNITIVE DAMAGES SHOULD BE
STRICKEN

Finally, a motion to strike under Rule 12(f) of the Federal Rules of Civil Procedure
applies to a “pleading,” and a court may strike “any redundant, immaterial, impertinent, or
scandalous matter.” Fed.R.Civ.P. l2(f). Compared with motions to dismiss, which can address

an entire claim or count, portions of a claim can be stricken under Rule 12(f). Cubero v. Royal

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Caribbean Cruises, Ltd., 2016 U.S. Dist. LEXlS 107657 at *5 (S.D. Fla. 2016). ln the event
that any of Plaintiff’s claims are not dismissed for the reasons set forth above, the claims for
punitive damages asserted throughout the Complaint should be stricken for three reasons. First,
Plaintiff has alleged that the Carnival Dream was unseaworthy [D.E. 1, ilil 31; 40] Punitive
damages are not, however, available under maritime law for a cause of action of
unseaworthiness See e.g. Miles v. Apex Marine CorrL, 498 U.S. 19 (1990); McBride v. Estis

Well Serv. LLC., 768 F.3d 382 (5th Cir. 2014); Wahlstrom v. Kawasaki Heavv lndus. Ltd., 4

 

F.3d1084, 1094 (2 d Cir. 1993).

Second, Carnival would respectfully suggest that although courts in this District have
differed on the issue, punitive damages should not be available in maritime passenger injury
claims except upon a showing of intentional misconduct See Crusan v. Carnival Corr;, Case
No. 13-cv-20592 (S.D. Fla. Feb. 24, 2015) relying upon ln re Amtrak “Sunset Lirnited” Train
Q_r_a_s_h, 121 F.3d 1421, 1429 (11th Cir. 1997)', see also Terry v. Carnival Corp., 3 F.Supp. 3d
1363 (S.D. Fla. 2014 (holding plaintiffs are precluded from pursuing punitive damages because
record evidence does not support a finding of intentional misconduct)', Bonnell v. Carnival Corp.,
Case No. 13-22265-CIV (S.D. Fla. Oct. 23, 2014).l To demonstrate “intentional misconduct” for
the purposes of recovering punitive damages, the Plaintiff must show that Carnival “had actual
knowledge of the wrongfulness of the conduct and the high probability that injury or damage to
the claimant would result and, despite that knowledge, intentionally pursued that course of
conduct, resulting in injury or damage.” id citing Mee lndus. V. Dow Chemical Co., 608 F.3d

1202, 1220 (11th Cir. 2010). Plaintiff has failed to assert a factual basis to suggest that any of

 

l Cf Vairma v. Carnival Corp., Case No. 15-207240-CIV (S.D. Fla. May 27, 2015); Doe v. Rova Caribbean Cruises`
Ltd, Case No. 11-23323-ClV, 2012 WL 920675 (S.D. Fla. Mar. 19, 2012); Lobegeiger' v. Celebritv Cruises, lnc.,
Case No. 11-21620-civ, 2011 WL 3703349, at * 7 (S.D. Fla. Aug. 23, 2011)

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the purported breached duties were due to intentional misconduct Accordingly, Plaintiff s
punitive damage claims should be stricken.

However, even assuming, arguendo, that a valid punitive damage claim can be asserted
in a maritime passenger injury case without allegations of intentional misconduct, Plaintiff has
still failed to plead any facts establishing that Carnival or any of its alleged employees, agents or
representatives engaged in wanton, willful or outrageous conduct-the level of culpable conduct
necessary to obtain punitive damages See Doe v. Roval Caribbean Cruises, Ltd., 2012 U.S.
Dist. LEXIS 139965 at *6 (S.D. Fla. 2012). A request for punitive damages must be stricken
from the complaint if the allegations therein do not present a factual basis supporting the
recovery of punitive damages, in other words, factual allegations showing wanton, willful or
outrageous conduct. id The character of negligence necessary to sustain an award of punitive
damages must be of “a gross and flagrant character, evincing reckless disregard of human life, or
of the safety of persons exposed to its dangerous effects.” Bonev v. Carnival Cor;rL, 2009 WL
4039886 at *2 (S.D. Fla. 2009). Plaintiffs allegations fall woefully short in this regard
Despite taking issue with the nature of the medical care and the decision not to divert the ship or
order an evacuation, Plaintiff has not alleged any action and/or inaction on the part of Carnival or
its purported agents that would suggest their motives were wanton or willful, or to such an
outrageous level that it evidenced reckless disregard of human life.

CONCLUSION

Defendant, CARNIVAL CORPORATION, respectfully requests entry of an Order

dismissing Plaintiff’ s Complaint in its entirety for failing to assert a claim upon which relief may

be granted Alternatively, in the event that any of Plaintiff’ s claims are not dismissed for the

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reasons set forth above, Defendant would respectfully request entry of an C)rder striking the

impermissible punitive damage claims asserted throughout the Complaint.

Respectfully submitted,

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this 6th day of December, 2017, the foregoing document
was electronically filed with the Clerk of the /court using Cl\/l/ECF to the attached Service List in
the manner specified, either via transmission of Notices of Electronic Filing generated by
Cl\/l/ECF or in some other authorized manner for those counsel or parties who are not authorized

to receive electronically Notices of Electronic Filing.

/s/Mz`chael J. Drahos
l\/Iichael J. Drahos

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CASE NO.: 1:17-cv-24089-RNS

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